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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                             Case No. 0:17-cv-61536 – UU

  CARLOS BENDAYAN and LAURA
  BENDAYAN,

             Plaintiffs,

  vs.

  DYNAMIC INTERNATIONAL AIRWAYS, LLC, a
  foreign limited liability company, and CAPTAIN
  TODD THIELBAR, a Florida resident,

        Defendants.
  ____________________________________/

  PLAINTIFFS’ RESPONSE TO ORDER [D.E.10], MOTION TO DROP CAPTAIN TODD
           THIELBAR AND INCORPORATED MEMORANDUM OF LAW

             Plaintiffs Carlos Bendayan and Laura Bendayan, in accordance with this Court’s August

  10, 2017 Order [D.E. 10], respectfully state the following as good cause as to why this case should

  not be dismissed as to Defendant Captain Todd Thielbar. Rather, Plaintiffs respectfully request

  this Court to enter an order dropping Captain Thielbar.

             1.       On August 3, 2017, Defendant Dynamic International Airways, LLC (“Dynamic ”),

  filed a Suggestion of Bankruptcy and Notice of Stay of Proceedings. [D.E. 3].

             2.       On August 4, 2017, the Court stayed the case as to Dynamic. [D.E. 6].

             3.       On August 4, 2017, the Court ordered Plaintiffs to inform the Court whether they

  intended to proceed against Defendant Captain Todd Thielbar alone1 . [D.E. 5].

             3.       On August 9, 2017 Plaintiffs responded that they did so intend. [D.E. 7].




  1          Captain Thielbar has not been served.
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           4.       On August 10, 2017, the Court ordered the Plaintiffs to show good cause in writing

  by August 18, 2017 as to why this case should not be dismissed as to Defendant Thielbar. [D.E.

  10].

           5.       In the August 10, 2017 Order [D.E. 10], the Court cited to the Convention for Int'l

  Carriage by Air, S. Treaty Doc. No. 106-45, Ch. III, Art. 17 (May 28, 1999) and Ugaz v. Am.

  Airlines, Inc., 576 F. Supp. 2d 1354, 1364 (S.D. Fla. 2008) for the proposition that claims premised

  on the Montreal or Warsaw Conventions are only permitted against carriers.

           6.       Upon review and study of the Order [D.E. 10] and additional legal research based

  on the authorities cited in the Order2 , the Plaintiffs determined that there is no good cause as to

  why this case should proceed against Captain Thielbar alone; it is now clear that the Plaintiffs

  misjoined Defendant Captain Todd Thielbar and the causes of action asserted against him in his

  individual capacity are inappropriate at this time. The Plaintiffs therefore retract their statement

  that they intend to proceed against him. [D.E. 7].

           7.       Since Captain Thielbar was misjoined, the Plaintiffs respectfully submit that the

  appropriate procedure is to drop him as a defendant rather than dismiss the case as to him.

           8.       Rule 41 governs dismissals of actions as opposed to parties, and Rule 21 governs

  the dropping of parties who were misjoined.

           9.       Rule 21 provides that “[o]n motion or on its own, the court may at any time, on just

  terms, add or drop a party.”




  2        See, e.g., Buchbinder v. American Airlines, Inc., 2002 WL 750838 (S.D. Fla. 2002)(King,
  J.)(holding that recovery for a personal injury in the context of an international flight, if not allowed
  under the Warsaw Convention, is not available at all, and since the Warsaw Convention provides
  the exclusive remedy in an action for damages, claims against a non-carrier defendant must fail).
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          10.      While dropping Captain Thielbar as opposed to dismissing the case as to him may

  largely be a matter of semantics and nomenclature, in an abundance of caution, the Plaintiffs

  respectfully request the Court to drop Captain Thielbar rather than dismiss the case against him.

          WHEREFORE, Plaitniffs Carlos and Laura Bendayan respectfully request this Court to

  accept this submission as good cause as to why this case should not be dismissed as to Captain

  Todd Thielbar in response to the Order [D.E. 10], enter an order dropping Captain Thielb ar

  pursuant to Rule 21, and for such other and further relief as is just and proper.

          Dated this 18th day of August, 2017.

                                                        Respectfully submitted,

                                                        /s/
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                                                        Florida Bar No. 195413
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                                                        and

                                                        /s/
                                                        Alfonso J. Perez
                                                        Florida Bar No. 220426
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                                        CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been served by

  electronic mail this 18th day of August, 2017, upon J. Thompson Thornton, Esquire ,

  (tom.thornton@clydeco.us) and Clayton W. Thornton, Esquire, (clayton.thornton@clydeco . us

  and eservice@clydeco.us), Clyde & Co. US LLP, 1221 Brickell Avenue, Suite 1600, Miami, FL

  33131.

                                                       /s/
                                                       Mac S. Phillips




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